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             EXHIBIT “18A”
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                                                      Incoming Wires by Account                                        09/20/2022


                                                                                   Originator             Originator
Released            Beneficiary                           Sender FI                Address Originator     Address
Date         Amount Account     Beneficiary   Sender FI   Name        Originator   1          Address 2   3


08/06/2021 $30,700.00 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
08:51:07                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
AM                              REMEGONE                             FENSTERMAN DR SUITE PARK NY
                                                                                  300    11042-1167


08/13/2021 $35,900.11 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
01:19:03                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
PM                              REMEGONE,                            FENSTERMAN DR SUITE PARK NY
                                LLC                                               300    11042-1167


08/23/2021 $37,300.00 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
12:51:02                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
PM                              REMEGONE,                            FENSTERMAN DR SUITE PARK NY
                                LLC                                               300    11042-1167


08/27/2021 $33,400.00 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
02:34:16                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
PM                              REMEGONE,                            FENSTERMAN DR SUITE PARK NY
                                LLC                                               300    11042-1167


08/30/2021 $28,400.00 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
04:22:03                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
PM                              REMEGONE,                            FENSTERMAN DR SUITE PARK NY
                                LLC                                               300    11042-1167


09/07/2021 $19,650.00 670       EVERGREEN 0212            CONNECTONE IOLA/ABRAMS, 3      NEW
12:28:57                        AND                       BANK       FENSTERMAN, DAKOTA HYDE
PM                              REMEGONE,                            FENSTERMAN DR SUITE PARK NY
                                LLC                                               300    11042-1167


09/14/2021 $48,450.00 6701014752 EVERGREEN 021213944 CONNECTONE IOLA/ABRAMS, 3               NEW

                                                                                                                                1
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10:17:23                       AND                 BANK         FENSTERMAN, DAKOTA HYDE
AM                             REMEGONE,                        FENSTERMAN DR SUITE PARK NY
                               LLC                                          300     11042-1167


09/15/2021 $15,000.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
11:58:11                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
AM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167


09/21/2021 $29,250.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
03:13:42                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
PM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167


09/23/2021 $24,900.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
11:12:16                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
AM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167


09/29/2021 $39,500.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
12:11:48                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
PM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167


10/08/2021 $28,350.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
02:34:27                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
PM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167


10/20/2021 $31,800.00 670      EVERGREEN 0212      CONNECTONE IOLA/ABRAMS, 3      NEW
11:38:25                       AND                 BANK       FENSTERMAN, DAKOTA HYDE
AM                             REMEGONE,                      FENSTERMAN DR SUITE PARK NY
                               LLC                                         300    11042-1167




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